AO 442 (Rev. 11111) Arrest Warrant



                                           UNITED STATES DISTRICT COURT
                                                                                     for the

                                                                Eastern District of Wisconsin


                      United States of America
                                  v.                                                   )
                       THOMAS DONNELLY                                                 )        Case No.      25         MJ        112
                         (DOB XXJXXJ1985)                                              )
                                                                                       )
                                                                                       )
                                                                                       )
                               Defendant


                                                              ARREST WARRANT
To:       Any authorized       law enforcement     officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary                                             delay
(name of person to be arrested)      THOMAS DONNELLY (DOB XX/XXJ1985)
who is accused of an offense or violation based on the following document filed with the court:

o Indictment                 o Superseding Indictment                     o Information              o Superseding Information            ~ Complaint

o Probation Violation Petition                  o Supervised           Release Violation Petition             o Violation Notice          0 Order of the Court

This offense is briefly described as follows:
  distribute and possess child pornography, in violation ofTitle 18, United States Code, Sections 2252A(a)(2)(A), 2252A(b)
  (1), 2252A(a)(5)(B), and 2252A(b)(2); as well as attempt to produce child pornography, in violation of Title 18, United
  States Code, Sections 2251 (a) and 2251 (e).




Date:      06/18/2025


City and state:          Milwaukee, Wisconsin                                                  Honorable William E. Duffin, U.S. Ma
                                                                                                                 Printed name and title


                                                                                     Return

          This warrant was received on (date)          _,,6"-"1___,_'-=8--LI_L-=5"         , and the person was arrested on (date)
at (city and state)               s k H.1 ..,
                              M .....            W I
                                           oJ




Date:         b/L Lj I L s-
                         I
                                                                                                              Arresting officer's signature



                                                                                                 I               Printed name and title




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